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October |, 2013

Ms. Kelly G, Price

New York, NY

Conviction Integrity Program
New York County District Attorney’s Office
One Hogan Place

New York, NY 10013

Dear Madain or Sir:

a

{ would like to request that you carry out a preliminary review of a conviction metted out to me,
Kelly Price, for disorderly conduct on 10/ 19/1012 arising from an incident which occurred on
09/24/2011.

The docket # is:
Please find enclosed log books, video tape and audio tape and photographs for your review.

|. OnSeptember 24, 2011 | was propositioned by a man ata bar and | rebuffed his advances. The
gentleman as it turns out was the owner of the bar and was upset at the way | turned him down.
He put his hands on me and )tald him he had no right to touch me. The spat escalated and he
had his bouncer grab me and throw me out of the bar injuring me as | was tossed through the
door. My chest was sore and beginning to bruise and | know NO ONE is allowed to put their
hands on me so | called the police to report the incident (see video inside bar).

3. When the police arrived the lead officers ignored me and marched into the bar to talk to their
buddies (apparently the bar is only a block away from the 14" pct, and they frequent the piace).

3. Without listening to my side of the story the officer in charge, Matthew Winters, told me “to
keep it moving” that he wasn’t doing anything te record the menacing, assault, and harassment
| had just encountered. | told the officers they are not allowed to refuse to take my 61 report
and that | would be making CCRB and IAB reports about their misconduct and callous regard for
my safety. | was upset and | turned to walk away | was crying and | said to the officers: “Ya'll
don’t help anyone ya'll should go fuck yourselves.” (see video outside bar}

 

 
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| proceeded two steps away from the group of four cops and from behind me and without
warning Officer Winters tackled me to the ground by kneeing the back of my right knee and
forcing me to collapse. He also grabbed my upper arms 50 hard literally each of his fingers made
9 bruise in my flesh. You can make out his handprints in the flesh of my upper arms (see
attached photos and the bruise in the back of my right leg among others see exhibits 8, 9 and
10.)

| woke up haurs later in a jail cell literally covered in bruises with officer Winters standing over
me. He told me that | was arrested for disorderly conduct and that he had gone through my
purse and found a few small dime bags of weed that I had as well as several condoms. He said
that he was throwing the weed out as a favor to me and expected me “to do him a favor in
yeturn.” He suggested that | don’t report my injuries incurred during arrest and that “things
would go in my favor.” He also asked why | had so many condoms. | tald him! was headed toa |
swingers party that evening and he informed me he could have me also arrested on suspicion of

prostitution and intent to distribute marijuana but that he was “being a nice guy.” | listened to

him with doubt and astonishment as ] rubbed at my swollen wrists, hands and several dozen

bruises all over my bady. | was furious. Since when does a woman in NYC who calls the police

for help B/C SHE has been harmed wind up incarcerated and beaten by the cops responding to

her call for help?

ADA Kenya Wells caught the case. At that time another drawn-out case maliciously filed against |
me by Mr. Wells was pending over me. MreWells‘kept insisting thabPhad:made-false- reports to = 4
the police about my ex-boyfriend, Raheem Powell who had been beating me and subjecting me
to economic, emotional, and physical abuse. | was charged after | went to the police for help to |
get him away from me because of my ex’s relationship with the precinct as a confidential
informant. He was a key witness in a murder, an attempted murder and several gang-related
cases that were in-motion already so the police and Mr. Wells threw me to the wolves instead of
assisting me at the darkest, bleakest, most helpless moment in my life. That case against me
was eventually dropped after | stood in court for two years with the scars on my body burning
under my dress as | repeatedly was called a fabricator in the I-DV court part. Mr, Wells had
already made poorly-investigated con clusions about my other case (again similar scenario with
him—no investigatton just jumping to conclusions based on his own gut). Eventually that case
was dismissed and sealed after | rejected every offer Mr. Wells through at me to try to cover up
his errors. Mr. Wells had a special vendetta against me because he was forced to drop the
(329 incorrectly charged and malicious) charges he had filed. When it came time for trial for
my disorderly conduct case Mr. Wells was prepared to do whatever it took to win: his
reputation and his personal vendetta against me, a domestic violence survivor, a 911 survivor,
and a 4" generation New Yorker was at stake.

SETTING THE SCENE: September 24, 3011 was an emotional time for me. It was shortly after
the ten-year anniversaly of the 911 attacks that | had survived by running for my life away from
the towers and everything | had built for myself had subsequently unraveled around me
because of the ineptitude and hubris of this young, untrained, sloppy District Attorney who had
thown me in Rikers island on Mothers’ day after | miscarried my child and turned my life upside
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down. | had spent alt weekend with a friend of mine, Lewyn Pogue, a member of NAVY SEAL
TEAM 6, who was In town to swim in the “Little Red Light house Race” to raise money for the
families of his friends who had died in an horrible attack on their helicopter in Afghanistan
earlier that summer. It was the deadliest attack to date in that war and our emotions were high.
{had been crying all day for the most part. | had nothing left inside of me. | wanted to sit down
and have a drink quietly somewhere before moving on to a party that night. Calncidentally the
cops were twitchy. The entire city was on red-alert because the Occupy Wall Street marchers
had violently clashed for the first time that morning with police and many members of the 14"
pct. had been involved in crowd control. The cops were agitated and twitchy. The bruises
literally cavering my body were 2 by-product of their sour mood, Lewyn can testify to the fact
that | had nary a bruise on me when he left me half an hour before | strolled into the Stitch bar
on W 37" st where | was assaulted. | had also had dinner at a place in Midtown | go to often and
the bartender can also aver that | had nary a bruise on me while she served me my Cobb salad
and coffee. I’m happy to provide you this information should you need it.

8. Mr. Wells didn’t even investigate the case: My Lawyer, Benjamin Dell from Legal Aide, spoke
with Mr. Wells after the arrest and before my first court appearance. Mr. Wells didn’t know that
[had called 911, He sald to my lawyer that in fact the incident had happened because the police
had come upon me screaming and simply arrested me. When my lawyer, Benjamin Dell,
suggested to Mr. Wells that there are 911 calls of my calmly requesting for police assistance Mr.
Wells seemed-panicked.. He was also.informed. that there were video cameras all over the bar
that would corraborate my story and it was suggested that he drop the case because the police
had beaten me badly and | was a woman who had called them for help. Mr. Wells refused and
scrambled to try to reconcile the way he wanted to paint the events of the evening to geta
conviction. He knew he couldn’t prove that a crowd had gathered or that! had blocked traffic |
on the sidewalk if the video was shown at trial. He then embarked on a campaign to keep the
video tapes of the events from surfacing. Please pull the Part A transcripts for the case and pay
careful attention to how many times Mr. Wells argues with the judges {on more than one
occasion) about the lack of necessity of attaining the video tapes. In one instance Judge

remarks that she is surprised that Mr. Wells didn’t already have the tapes in his
possession and that he doesn’t feel they are relevant! Isn’t it the DAs DUTY to investigate? Isn't
failing to do so an egregious error that allows for the breakdown of prosecutorial immunity? Is
this not being taught ta young ADAs in the Manhattan District Attorney’s office? We (Mr. Dell
and l) had asked the bar for the tapes and they had refused. Instead we subpoenaed them from
the CCRB as | had made a CCRB complaint as soon as | was released from jail. Graham Daw at
the CCRB can attest to the fact that the bar sent over edited versions of the video tapes first that
omitted all interaction | had with the police outside the bar. Why would the bar do this?
Someone needs to ask the owners of Stitch bar if they were instructed by the police or by Mr.
Wells to do so when they have ta answer under swarn testimony. Eventually the correct tapes
were sent to the CCRB and Graham Daw on passed them to the court. This caused MUCH
consternation, huffing, puffing and pouting at each new court date when they didn’t appear and
Mr. Wells wanted to press on for trial. Surprise: the tapes were mysteriously LOST in the
courthouse for months after they arrived. Please note the court transcripts where My lawyer
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10.

asks for a delay in trial until the tapes can be found by the Part A clerk and please note Mr. Wells
insistence that the trial go forward without the tapes. The judges kept asking Mr. Wells why he
had not pulled the tapes to begin with and Mr. Wells simply kept averting the questions. The
plain truth is that he HAD to have already pulled the tapes and they did not corrobarate the
Police’s version of the story that would allow him to take me to trial and justify his pursuit of the
case against me so he tried to keep them out of our hands and the hands of the court. He
stated MANY times on record that he had never seen the tapes. | would be very interested if
your conviction integrity officers can compare records of when he got a hold of the tapes at the
DAs office and then compare that information with Mr. Wells’ statements in court. He claims
the first time he saw the video was in late Sept/early Oct of 2012. | sincerely doubt his honesty
concerning his statements to this effect.

In each of the three Interviews the CCRB conducts with three of the four officers who,
respanded to my 911. call there is a different story told than the manufactured, glossed, |
coached and clean version that Mr. Wells helped the officers recapitulate on the stand at trial.

Please listen to each of the interviews. Not one of the officers states that | raised my voice and

screamed at a level 10 out of 10 being the loudest a human voice can possibly make during theic
CCRB interviews. In fact the officers don’t even recall what | said as | walked away from them. i
But MAGIC! —when Mr. Wells called them to the stand they ALL say that | screamed “FUCK YOU”

at the top of my lungs to the cops. How strange: magically over a year later all three cops’
=storieschanged-and wereconsistentt-- There must-be-a.magic memory: pillin.the.waterat.the..___—
80 Centre Street witness lounge! A few weeks after the incident when the officers were

questioned by CCRB inspectors there was not a narrative consensus about what | said or how |

said it but over a year later at trial all of a sudden each officer magically remembers that)
screamed at the top of my lungs “fuck you?” I find this incredulous. None of the log books of

the officers reflects that I screamed aloud or even recounts what I said. One would logically

think that this information had it really occurred would have been recorded in the log books OR

remembered in the CCRB interviews.

The fourth Police officer, a young, Caucasian, female officer was never interviewed or called to
testify. We need to get her version of the story. Her name was Officer

 

_ The video tapes show thata crowd NEVER gathered ta witness “the spectacle | [sic] was

making.” Please review. The caps all say different-sized clusters of people were standing just
out of camera sight in their CCRB interviews in different places. NONE of their statements to
the CCRB is consistent with what they claimed at trial. Please make note of time-stamps: xyz on
the video tape and abc on the ccrb interviews.

_ The conviction revolved around Mr, Wells’ LIE about the tone of my voice. He coached the cops

to say that | screamed at the top of my lungs ata level TEN (being the loudest a human voice
can possibly make according to Wells). Never had the cops made this statement before to any ;
interviewer of the CCRB or in their log books, The reason Mr. Wells had to coach the cops to LIE

is this is the only way he could win the case. This is why he didn’t want the video tapes

introduced into evidence. He did not want to have to suborn perjury but was forced to do soto
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win the case and tried everything in his power to avoid this. There simply is no other
explanation for his reticence in presenting the tapes to court.

13. } was convicted of TWO counts of disorderly conduct as one was for allegedly screaming and one
was for making an obscene gesture but never in court did anyone mention that | made an
obscene gesture in their logs, in their CCRB interviews or at Trial. This count should most
certainly be dropped because it was never proven, Instead it was merely just bivouacked onto
the other charge without any lip-service whatsoever.

14, Mr. Wells started his statements at trial by alteging to the judge that lama “fabricator” and
that | had hundreds of criminal charges filed against me because of this false fact. He was so
hell-bent on making me appear to be a lying fabricator that he asked his colleague, ADA
Bernard, to decline to prosecute another man who had hit me outside of a bar on July 28, 2012
shortly before my trial date. That man went on to assault, stalk, masturbate on, and trespass
against several other women in town BECAUSE HE WAS not punished for his acts against me.
Please look up this criminal: Rami Baly. ADA Richendorfer is FINALLY prosecuting him OVER a
full year later for his crimes against me because | made complaints to the DOI, the JAB, the State
Attorney General, Senator Gillabrand, Councilwoman Quinn, Councilwoman Dickenson, the
Mayor's office, the Borough President, the Public Advocate, and the New York State Bar
Association about how my right to equa! protection under the law had been stripped from me.
Mr. Wells couldn’t have me appear as an Innocent defendant in the same courthouse at the
same time he was trying to paintme es? erazy-fabrieatorin frontofthe judge to. wins =
disorderly conduct conviction. So Mr. Baly was set free instead to punch NYPD officers (he
was arrested a month later for assaulting an officer, arrested in November of 2012 for lewd
acts on an Amtrak train, arrested In March of 2013 for trespassing and stalking, again in May,
again in June and again in July of 2013. Conveniently Mr. Wells aided and abetted Mr. Baly in
his crime spree against other women in the City of New York by tricking his fellow colleague
into declining to prosecute Mr. Baly so that he could paint me as ugly as possible on a fresh
courtroom canvas. Look: this is anathema. Re-read the above paragraph. Mr. Wells wanted
to win against me so badly that he had a colleague sit on a case against a man who clearly
needed to be under psychiatric care and have his dopamine levels regulated and monitored all
in the name of winning against me. Is this really a persan you want in your office? This guy is
the JAYSON BLAIR of the District Attorney's office and should be arrested himself for malicious
prosecution, obstruction of justice, tampering with evidence and suborning perjury,

| encourage you to research the facts of my case with a fresh perspective. | believe you will find many
illegal misdeeds and cover-ups along the way that Mr. Wells is respansible for. Make sure you have a
barf-bag in front of you while you investigate: Mr. Wells will make you sick.

These are the true facts of the case. Why would Cyrus Vance want this guy's dirty work bessmirching his
legacy and his office? Please get this guy.
 

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February 2, 2015

Miss Kelly Price

534 w 187" st #7
New York, NY 10033
Via email

Mr. Jeff Schlanger

Chief of Staff

Manhattan District Attorney's Office
80 Hogan Place

4" Floor

New York, NY 10013

Via email: JShlanger@DANY-nyc.gov

Dear Mr. Schlanger:

I’m writing to provide comprehensive information, lo make you aware and to PROPOSE A
PATH FORWARD out of the devil’s cauldron of gross negligence, deliberate malice, outright
unprofessional, unethical and illegal activity taking place in the Manhattan District Attorney's

~ office (and vis a vis “collaboration” within the NYPD at iKnedirection of the MDAO) towards

innocent crime victims seeking assistance/justice. The following is a brief regarding the handling
of me as a victim of domestic violence, the deliberate pattern of denial of services unhanded to
me as a victim of Domestic Violence and as a victim of street assaults in NYC and the continuing
problems I’ve encountered with the MDAO and the NYPD in the wake of being falsely branded a
“fabricator” when not one official sought to investigate the true facts of my complaints.

-The MDAO never investigated my claims of abuse. No one interviewed neighbors, had
me sign HPPA fonns, reviewed photos of injuries I suslained during battery, or even
called me to ask about my complaints until MONTHS after I was accused of harassing
my batterer by allegedly making false complaints of abuse, arrested, arraigned, charged,
incarcerated in Rikers and had my constitutional rights violated.

-As I was labeled a “fabricator” I ended up ona “de nol service list” kept by the
NYPD/MDAO of persons whose complaints are pol lo be addressed by the police.

-My batterer is stil} walking free. Why?

-How many other women are denied services like welfare assistance, counseling and
relocation/housing which are “signed-off" on by Family Justice Centers around the city
that are literally embedded in DAs offices in each borough because they are dubbed
“fabricators” without anyone ever investigating hes/his/its claims? How many other
women are DENIED access to the FJC services as | have been/still am?

-Because of my status as a “fabricator’ in the eyes of the MDAO OTHER WOMEN IN
NYC WERE STALKED, ASSAULTED, MASTURBATED ON, PREYED UPON AND
HARASSED BY at least ONE MAN THE MDAO REFUSED TO ARREST FOR
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CRIMES AGAINST ME.

The following information is broken down into five categories:

1. Introduction/brief outline of events
tT. Rough timeline of events involving violence against me by Powell

DL Events that led to the filing of Federal Civil Rights/Depastment of
Justice, CCRB, IAB, DOI and OIG complaints vs. the MDA and
NYPD and details of those incidences.

IV. Details of attacks on my person that the 28th precinct and other
precincts in town refused to follow up on because they were told
by the MDAO that I was no longer entitled to Police Services

V. Moving Forward; the MDAO and Miss Price, the Business of
Photojournalism in NYC and the way forward.

I. Introduction/Brief Outline of Events

e

a. My Birthname is Kelly Cathleen Price. I Go by GRACE: my beloved
“Grndnoitier’s nate. She was a preat New Yorker and-when-this episode in-my—
life is over I plan on changing my name.

My SS# is XXX-XX-XXXX

My DOB is 11/27/1970

Please find attacbed the final dispositions/Orders from NY Supreme Court to
dismiss and seal docket #s 20075-2011 and 20111-2011 (Exhibit #7) as well as
the original complaints against me (Exhibit #4 & 5).

I was Atrested on 5/6/2011 and 3/24/2011 by the 28" precinct and 9/24/1 Iby the
14” pet.

On 5/6/11 I was arrested by Detective Samuel Fontanez, shield #00311 of the
028 Detective Squad and on 3/24/11] by various detectives inside the Family
Courthouse as I waited to appear in front of Judge Sattler to have my order of
protection against my batterer renewed and then handed over wo detertive
Flowers of the 28" precinct. 1 do not have Dt, Flowers’ shield # and neithei does
the Pct. as he has since retired (I was informed this by the dt squad when 1 called
to ask for the number for you),

] have included copies of emergency room: reports and ambulance reports of
some/most of the injuries I sustained. 1 have also included a disc with images of
my various injuries incurred on my person from assaults by my batterer, Raheem
Andre Powell, his mother, Nancy R. Gaines and by members of the NYPD as
well as people on the street.

As a domestic violence victim J went to the authorilics, specifically, the 28th Pct.
as I lived in that district, and then to Cyrus Vance's staff in the DA's office for
help, I began asking for assistance in the spring of 2010 and continued up until
the winter of 201). T have a timeline with specifics detailing the interaction that I
can provide. Instead of anyone investigating my claims of abuse | was instead
falsely accused and charged with crimes as | was labeled a “fabricator” my

 
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complaints against him and communications 1 had with him were viewed as
hundreds as counts of aggravated harassment and 1 was imprisoned, I was
prosecuted by the Manhattan DAs office on 325 counts of aggray ated harassment
and one count of contempt of court. The complainant is a man who ballered me
for two years.

When I finally went to the police and the DAs office for help I was arrested
instead, they refused to investigate my claims of abuse, and Lended up
incarcerated on Riker's island regardless of the evidence in my favor: hospital
records, eyewitnesses, 911 calls, photographs, permanent scarring, records for
repairs of my front door and windows that were constantly being broken as he
atlempted to gain access to me in my apartment etal. After approximately two
years of endless hearings 12 NY Supreme Court the DAs office ‘offered me ACDs
on the counts which I refuse to plead to as my batterer was walking free without
a charge or testraining order against him. My civil nights have been violated in so
many ways: Heel strongly that the pain, humiliation and anguish caused me need
to be recognized. The people responsible for these malicious prosecutions and
false arrests should be held accountable, This is virtually a horror-film script
ripped from Hollywood: as an innocent crime victim when I turned to the
authorities in-my darkest, most desperate hour I was cast as a pariah, a liar, and
as a ferme fatale who allegedly injured herself in order to accuse her most
beloved of the same crimes that he actually perpetrated. You allowed my
batterer to manipulate the criminal justice system to continue his control over my
suffering. My-abuser did this-with the assistance of officers of the MDAQ end _
NYPD who willfully lapsed in their duties to investigate the circumstances of My
injuries.

If this bas happened to me it can and has happened to other women and IT want to
make sure it never does again.

k. The MDAO refused to investigate my claims of abuse: | have plenty of proof that

 

this disregard for the obligation to investigate occured in my case. T received
call from DA Stohbebn on February 2,201). She told me I have “less than an
hour” to get downtown to her office regardless of the difficulty in travelling that
day as the city had been blanketed by a blizzard the previous evening, When I
arrived at her office she had me wail in the Sate Horizon office for over two
hours, When she greeted me she withdrew her right band as 1 outstretched mine
to shake hers as is common itt professional and official circumstances lo do. She
led me brusquely down the hall of the 2™ Door she and Det. Simnvons and
another Dt from the 28" pet pepper me will questions about how I came to owna
car, bow T earned a living, and accuse me of answering my phone earlier in the
day “with a fake accent.” They proceeded to call mea liar and refuse to look al
any material | had that proved | was telling the truth. ADA Swohbehn informed
ma she was declining to prosecute Raheem. and informed me that iff make
another report against RAHEEM that she will “lock me up and throw away the
key.” She also informed the 28th precinet that she will personally handle all of
my “police service needs” and if | have “a bullet-hole in my head that they are to
call her first before responding to any call rem me ” She informs me that she
has already assisted Raheem in drawing up a Family Court petition to atiain a
counter restraining order against me in order to press counter-claims of
harassment against me. She further instructs me that even though T haven’t been
 

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served thal] am to show up in family court the next morning to respond to
Raheem’s charges. She tells mel will be charged with contempt of court if I do
not show up “as she as an officer of the court was ordering me to appear even
though there was ne time to serve me with a subpoena (sic).” She telis me her
only concern is that “an innocent black man has been sitting in jail for 24
hours...” Lask to speak with her supervisor to show her my proof and have my
neigbbors interviewed etc. and Ms. Strohbehn informs me that “she already
checked with her supervisor (Audrey Moore) and that she has been given carte
blanche to deal with me with finality.” 1am instead thrown out of her office.
My landlord and others try to speak with Ms. Strohbehn te introduce
investigatory cvidence and she rebuffs them (please see attached letters from
landlord, Adam Gargani, My neighbors Marilyn Benetatos etal about Ms.
Strohbehn’s and ADA Kenya Wells’ refusal to investigate.

1. The conduct on which I base my complaints about the MDAO and NYPD includes (but
is not limited to): ‘

a, stripping me of my First Amendment Rights to petition the Government
for redress of grievances

b. knowingly keeping me under unreasonable seizure for an elongated
period-of time-during my. false arrest and drawn-out prosecution lasting __
approximately two years (during which the seizure continued) denying me my
Fourth Amendment right against unreasonable searches and seizures

c. eschewing my Eighth Amendment rights by denying me police services
asserting excessive and unusual punishment

d. Denying my Sixth Amendment right to a speedy trial

e. Depriving me of my Fourteenth Amendment rights to nat be deprived of life,

liberty or property without due process of the law

f. denying me my Sixteenth Amendment right to eq val protection under the
Jaw.

g. The Causes of Action include but are not limited to: Malicious
Prosecution, Intentional Infliction of Emotional Distress, Abuse of Process, Actual
and Constructive Fraud, Negligent Misrepresentation, Denial of Due Process and a
Fair Trial (under 42 U.S.C 1983), Deprivation of Liberty, Negligent Hiring,
Training and Supervision as the MDAO, the NYPD & the City of New York: (1)
unjustifiably denied me any police services; 2) refused to investigate my claims of violent
physical abuse (3) instructed for my arrest me without probable cause; (4) maliciously
prosecuting me for eres against my baticrer under the false pretense that I had made up
my claims of abuse (5) conspired to present falsified evidence to, and to withhold
exculpatory evidence from, a seated fanuly court judge JUDGE SATTLER) and seated
NY Supreme Court judge (JUDGE DAWSON); (6) deliberately suppressed material
evidence of the trie nature of my Status as @ domestic violence survivor from the trial
file; and (6) manufactured evidence that | was a "Fabricator" who insinuated her own
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injuries on herself, 7) Thwarted my right to due process by insinuating I was in fact a
violent abuser and not a erime victim in open court. 8) Conspired to manufacture

evidence/perjury.

[ was arrested and charged with 325 counts of agpravated harassment and one count of
Contempt of Court as | sat in front of a family court judge (Judge Sattler on March 8,
2011) as I was trying to get a restraining order extended against my violent batterer. I
served between eight to ten days incarcerated in the tombs and on Rikers Island and years
repeatedly going back to court monthly—sometimes more often—to stam accused by a
system that should have been prosecuting ary balterer! But he walked free. -

The cases against me were eventually ordered dismissed and sealed on July 24, 2012 by
the I-DV division of NY Supreme court I was never given an explanation as to why or
even permitted to stand in front of the judge and add something onto the record about my
disgust and despair at the way 1 was treated by the Police and the DA's office. My
batterer was walking free: everyone in my community was looking at mie in strange ways
and distancing himself or herself from me, Others openly confronted me in the
neighborhood: I was assaulted by various people who had known my batterer for
decades who had heard swirling rumors fueled from the actions of the 28" precinct. For
two years the pallor of serious criminal charges hung over me: the threat of incarceration
for many years and the complete alteration of the life I had built for myself. I was not
about to take a plea that admitted any sort of guilt for crimes of any kind. I was the one
who had gone to the MDAO and the police for help.

[ feel strongly that the MDAO can choose to decline to prosecute a batterer if they don’t
have enough proof to bring charges against him/her but this is not what happened in nry
situation. They flat-out denied any investigation of my claims of abuse even though there
was plenty of evidence supporting my story. I have advocated for myself and had
representatives from the Mt. Sinai/St. Luke's Roosevelt Hospital’s Crime Viclims Center,
Connect NYC, Senator Gillabrand’s, Public Advocate Leticia James, and Council
Speaker Quinn and other Domestic Violence Advocacy groups review my case and lobby
on my behalf as well. There is a mountain of evidence and the Domestic Violence
community in town has been supportive of me. The ‘authorities’ never interviewed
neighbors (and even lied about this), never looked at or compared photos of my severe
injuries to hospital emergency room reports, and relused lo collect/accept other evidence
such as 91 | calls, receipts for repair work for broken windows or doors that have been
kicked down as well as other evidence that proves thal constant battery had taken place,
They accused me of fabrication without even knowing or seeking to examine the facts
and then initiated an elongated, over-zealous, and incorrectly-charged criminal
prosecution of me based on the belief that ] was a fabricator. This is anathema at best and
police/ prosecutorial misconduct at worst,

[spent tens of thousands of dollars defending myself and my life has been turned upside-
down as a result of the accusations levied at me. [ have faller: into financial ruin, can’t
get a job and bave a debilitating psychological disorder as a result of the battery and re-
victimization by the “judicial” system. I have been diagnosed with Complex Post
Traumatic Stress Disorder by Psychiatrists and social workers at the M1. Sinai/S¢. Luke’s
Roosevelt Crime Victims Center where I have been in treatment for over (wo years and
by members of the James B. Zadroga 9/11 Survivors’ Federal Healthcare program at
Bellevue Hospital.

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Case 1:15-cv-
e 1:15-cv-05871-KPF Document 41-6 Filed 01/03/17 Page 12 of 32

 

 

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6, Sitice the time of my troubles with the 28" pet. and DAs office ] have been attacked
many times in NYC in various forms and each time 1 call the police 1 am told that lam no
longer entitled to Police services as per the edict of the Manhattan District Attorney’s
office, This is a violation of my 14” amendment rights to equal protection under the law,
my first amendment right to redress the government for grievances, and my Aith
amendment right to due process.

7. On several occasions I was beaten und went to the 28 pct. bloodied and bruised and was
told by desk Sergeant Agron at the 28" pet, that I was not allowed police services. The
DAs office has continued their posture that lam a fabricator even after charges have been
dismissed against me and continued to inform the NYPD not to take any complaint from
me in violation of my Constitutional rights. When I have been assaulted and complaints
have been made the DAs office has instructed the precinct involved not to pursue charges
against the perp. This has happened on numerous occasions notably: 6/3/2013, 5/17/13,
10/17/12, 07/27/12: (incident 12012-020-2969 described above), W14/12, 417/12,
1/20/12, 12/1/11, 8/3/11, g/4/11, 8/2/11. I can provide incident IDs that were never
followed up on, proof that the officers refused to even take a report, or Jaywalking tickets
issued to me for the latter date when officers from the 28" pet. engaged in outright
harassment of me (e.g. Docket Number 20138N053520 was dismissed on 8/27/2013).
Most frustrating is that the police have been instructed not to assist me oF to prosecute |
those who do harm tome, The 28" pet. constantly harassed me when they saw me in the
neighborhood. In June of 2013 1 was en route to the train passing the precinct and the

—————$————— ___ detectives.yelled-out.my.name fromthe second-story. squad window and then proceeded

to MOO at me as if] am a Cow. Other times the cruisers pass me on. the street and make
sucking sounds at me (insinuating sexual acts with their crude verbosity,) other times
they would pull their cruisers over and slap me with a jaywalking ticket even when I

wasn’t jaywalking.

g. ‘The emotional pain and suffering from these events ix overwhelming. I've lost
everyuning | worked for. most beloved was ply personal identity, my career and my
sense of place in life. I was atone lime tmsted and loved professionally until] my world

fell apart because of this mess. 1 more than anything want my name back and 1 want to

wontinue to do the good work | was producing. | struggled to build @ beantiful life for |
myself. Now I'm trying ro put the pieces of my life together but nothing is easy and my

troubles seem to compound as time slips by.

9. i would appreciate you taking the time to look over some of the links I've provided below
so you can gel an idea of the high-level I used to operate at vs. where my life is now
because of the malicious mis-handling of my case. The links are to examples of news
production I did and to the kinds of people who trusted me with their lives. I ran the
world’s top photojournalists in and out of war zones and covered top stories on all fronts
for the past decade, I had achieved a high level of respect and adiniration based on trust
and love. Now my life is litevally in tatters, Credibility is key to the journalistic
community and the pallor of criminality still follows me as 4 result of the bad arrests and
prosecutions coneocted for me belween the NYPD and the DAs office.

6

 
 

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10. \ began the careers of many journalists such as David Rochkind: his work on the drug
wars in South Ametica spans a decade of reportage we produced together. The Guardian
just did a review of his book co-produced with the Puliver Center:

a. hitp:/Avww.guardian.co,uk/arta nddesign/ photography-blog/20 13/jan/25/mexico-
drug-war-photographer-dayid -yoehkind?imemp=ILCM USTXT0384

11. Scout Tufankjian was asked to be President Obama's While House Photographer after her
comprehensive coverage of his 2008 campaign. 1 was Scout's editor who stewanded all of
her work with the campaign: Scout even jwentions me as the reason for her success when
interviewed on the Charlie Rose show:

a. htpf/www charlierose,com/view/interview/ 10026
b, http:/Avww.scouttufankjian.com/#e es-we-can---the-book

12. Photographers such as Max Beeherer, Christoph Bangert, Johan Spanner and Mitchell
Prothero needed help getting into Iraq to work. Enot.only got them safely in-and out of
the country hundreds of times 1 trained them on how to operate while there and
subsequently all became full-time freelance staffers at the NYT House in Baghdad
kicking-off their careers as war photographers.

a. http#//maxbecherer.com/#/the-dark-days-1

 

 

  
   

   

ity UG _ Becher
13. Exclusive access inside the home of Benazir Bhutto in P kistan while she was placed
under house arrest by the Pakistani government upon her retum after years in exile a

week before her assignation:
a. http: jhwwww.time.com/time/photogallery/0,29307,18 1683694 1485358,00.htn!
14, I worked with Stephanie Sinclair who gained a never- before-seen intimate portrayal of
the family of polygamist Warren Jeffs for the NYT Magazine (Winner of National
a Magazine Award for Best Cover Story, 2009) sak
a. http://vww.childbrides.org/raid NYTimes childten_of ( Goditml = ©
15. Here are links to some of my 9/11 photos I took myself as I fled away from the falling
towers:
16, http://digitaly ournalist.org/issuci609/watch ng-the-world-change.html
17. hitp://Avww.amazon.co.uk/ 102-Minuten-erz%C3%A 4Shilte-Geschichte-
~%C3%0Cberleben/dp/349225052 ref=sr_|_t. Vis=books&ie=UTF8&gid= 1363" 7O4757&
sr=l-]1
18. herp-//wwrw.nytimes.com/200]/09/23/arts/the-aflermath-peering-into-the-abyss-of- the:
fulure, htm!
19. http:/Awww.time.com/time/magazine/article/0,9 171.1053663,00.htm1
20. http://www. thetimes.co.uk/tolnews/uk/jubilee/mticle355313 Lece
31. Tworked with photojournalist Evelyn Hockstein on many stories including the origin of a
new deadly super-virus in Angola:
a. htep:/Awywww nytimes.com/2005/04/) 7/interationaliafrica’ \Jangolahtml?_1=0
22. T positioned photojournalist Robert Stolarik in NOLA days before burricane Katrina and
more than supported his efforts to document the events during and after the storm: We
won many awards that year and Robert’s coverage secured him a staff position at the

NYT: bitps//waww nypress.orw/KATRINA/index btn)

 

 

23. There are literally thousands of other pieces [ could. show you but the above offers 4
glimpse I think inta the life of the person I once was before being cast as a pariah by the
people sworn to protect me. Please help me make sure this doesn't happen to other
women in NYC and to help me move forward and try to restore myself the status I
occupied before the malicious arrests and prosecutions.

SS ges el
ee —— Laie
 

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NYC. gov - gase, edia CUS siner Use Pogeent 41-6 Filed 01/03/17 Page 15 of Sage 1 of 1

NYC Resources | 311 | Office of the Mayor

NYC Social Media Customer Use Policy (2) Sign up for Email Lipdates

 

Search NYC.gov for
Customer Use Policy

New York City engages customers through many digital outlets, including NYC.gov and
311 Online. Communicating with the City through social media further enables
customers to contact the City in a direct and meaningful way.

 

Advanced Search

Please be aware that when engaging with the City of New York over social media, you
are agreeing to the following:

Commenting on an NYC Social Media Site

New York City agencies share information, images and video with the public through
external social media websites. Comments made by the public to these sites are
reviewed and, while comments will not be edited by City personnel, a comment may be
deleted if it violates the comment policy described here.

e Comments should be related to the posted topic for the City's social media page
or post. New York City agency social media accounts are not meant for
comments that do not directly relate to the purpose or topic of the social media
website or for service requests. For general comments or communications
concerning an agency, please contact the agency's Commissioner on
www.NYC.qov. For service requests, please contact www.NYC.qgov/311.

e You are subject to the Terms of Service (TOS) of the host site. Information
(photos, videos, etc.) you share with or post to official New York City agency
pages is also subject to the TOS of the host site and may be used by the owners
of the host site for their own purposes. For more information, consult the host
website's TOS.

* NYC social media accounts are not open to comments promoting or opposing any
person campaigning for election to a political office, or promotion or
advertisement of a business or commercial transaction.

¢ The use of obscene, threatening or harassing language is prohibited.

® Personal attacks of any kind or offensive comments that target or disparage any
ethnic, racial, age, or religious group, gender, sexual orientation or disability
status are prohibited.

» Comments advocating illegal activity or posting of material that violates
copyrights or trademarks of others are prohibited.

¢ This comment policy is subject to amendment or modification at any time.

User-Created Content

Users are welcome to submit or post content, including photographs and videos, to an
official New York City site where the agency allows users to post content, the content
meets the standards articulated in this Customer Use Policy and pertains to the subject
of the sacial media site. Users may only post their own, origina! content. Reproduced or
borrowed content that reasonably appears to violate third party rights will be deleted.

Reasonable Accommodation
To request a reasonable accommodation when accessing New York City social media
sites, please contact the Mayar’s Office of Disabilities by calling 212-788-6721.

Questions or Concerns
Questions or concerns regarding New York City's social media activity, the City's social
media policy and/or this Customer Use Policy should be submitted online.

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http://www.nyc.gow/html/mise/html/social_media_policy-html 1/3/2017
 

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Th batt 4e A (w |
CRIMINAL COURT OF THE CITY OF NEW YORK

COUNTY OF NEW YORK

ADJOURNMENT SLIP

DEFENDANT NAME: PRICE, KELLY C.
DOCKET NUMBER: 2013SN053520 _

YOU ARE TO APPEAR IN COURT ON __ 08/27/2013 __, IN PART
SAP, 346 BROADWAY 09:00 A.MJP.M.

IF YOU FAIL TO APPEAR, A WARRANT MAY BE ISSUED FOR YOUR ARREST.

BRING THIS NOTICE WITH YOU.

 

 

TRIBUNAL CRIMNAL DE LA CIUDAD DE NEW YORK
CONDADO DE NEW YORK

AVISO DE APLAZAMIENTO

NOBRE DE ELACUSADO: PRICE, KELLY C.
NUMERO DE INSCRIPGION: 2013SN053520__

USTED DEBE COMPAREGER AL TRIBUNAL EL 08/27/2013 _, EN LA
SALA SAP , EN 346 BROADWAY

ALA(S) 09:00. A.M./P.M.
S| USTED NO COMPARECE, UNA ORDEN DE DETENCION POORIA SER
EMITIDO PARA USTED.

TRAIGA ESTA NOTIFICION CUANDO VENGAAL TRIBUNAL.
 

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from:gracieegorgeous to:nycagainstabus er Searc Page 1 of 1

Ww Home 5 Moments from:gracieegorgeous to:nycagain Q, Have an account? Log in~

from:gracieegorgeous to:nycagainstabuse

TOP LATEST PEOPLE PHOTOS VIDEOS MORE v

 

@NYCagainstabuse FACT: 75% of women in prison are domestic violence

New to Twitter? ay K Grace Price @GracieeGorgeous » 7 Aug 2015
f =
= survivors. Why? d.shpg.org/140683893t?ref... @JailsAction

Sign up now to get your own
personalized timeline!

 

ea ty eee
Sign up . .
K Grace Price @GracieeGorgeous » 29 Jun 2015
@NYCagainstabuse WHAT DO THOSE WHO ALLEGEDLY TRAFFICKED A 13
yo Orthociox girl from BKLYN & my batterer SHARE? goo.gl/L2bqdd #MONELL
Worldwide Trends + ez eee

#MCJunior
31.8K Tweets K Grace Price @GracieeGorgeous - 19 Jun 2015

pid) Gijay Ass galt | @nycagainstabuse gorgeous212.tumblr.com/post/121944309...

 

20.1K Tweets a a eco

Aldo

19.1K Tweets ¢\ In reply to Office to Combat DV

rR 7 K Grace Price @GracieeGorgeous - 5 Dec 2014

nadine @NYCagainstabuse you DM'd me three days ago, asked for my number and
said someone would be in touch??? STILL NOTHING. crickets.

#BBB17

11.4K Tweets +4 af =

al_sie_ ya Alsi 4 In reply to Office to Combat DV

12.8K Tweet .
resis K Grace Price @GracieeGorgeous : 1 Dec 2014

* @NYCagainstabuse | cant reply to your DM be you dont follow me.
A “yy 1 ooo

Coachella
337K Tweets

 

Charles Manson

13.4K Tweets 4. In reply to Office to Combat DV

#CBBUK K Grace Price @GracigeGorgeous - 1 Dec 2014

23,.4K Tweets e @NYCagainstabuse where do we go when wrongly dubbed as “fabricators” by
. = #MYNYPD & @manhattanda & denied entrance to Family Justice Centers?
Chris Brown
390K Tweets ea 42 are
©2017 Twitter About Help Terms 4 In reply to Office to Combat DV
Privacy Cookies Ads info . K Grace Price @GracieeGorgeous © 3 Nov 2014
oe @NYCagainstabuse Many more women could have benefitted from services at
-

a FJC but were barred bc they were falsely labeled “fabricators.”

e ny aoe

In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous 10 Oct 2014

@NYCAGAINSTABUSE @NYPD26Pct victims be wary of the 2-8: their “Help”
put me #Rikers & my abuser walked chn.ge/1lfKJZd #JAILSACTION

og.

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Back to top T

https://twitter.com/search?f=tweets& vertical=default&q=from%3A graciee gorgeous %2010%.... 1/3/2017
 

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- Document 41-6 Fil
from:gracieegorgeous tomypd28pet - Twitter Search ed 01/03/17 Page 22 OpzSe 1 of 3

yV Home 5 Moments * from:gracieegorgeous to:nypd28p Q. Have an account? Log inw

 

from:gracieegorgeous to:nypd28pct

TOP LATEST PEOPLE PHOTOS VIDEOS MORE ¥

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New to Twitter?

Sign up row to get your own
personalized timeline!

Sign up

Worldwide Trends

#MCJunior
31.8K Tweets

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20.1K Tweets

Arsenal
432K Tweets

Aldo

46.9K Tweets

Ja) aie oye Alt
12.4K Tweets

Coachella
337K Tweets

#BBB17
10.9K Tweets

#CBBUK
23.4K Tweets

Charles Manson
43.4K Tweets

Chris Brown
390K Tweets

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{ K Grace Price @GracieeGorgeous © 44 Oct 2014
1 @NYPD26pet "Caller has checked the NYG municipal policy on blocking & they
can only block a person if they were abusive” @CommissBratton

a ar ooo
K Grace Price @GracieeGorgeous - 44 Oct 2014

§ @NYPD2ePct bad cops: Obe, Agron, Simmons (ret), Flowers(ret), Fontanez,
Williams, D'Amato, Good cops: Sol, Walker, Harrison, LaRocca(ret)

 

os ta 1 seo

4 Inreply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous - 14 Oct 2014

@NYPDz6Pet make sure if you leave your Car unattended that you At least pick
up 2 nice pair of earrings 4 Inspector Obe! She prefers silver.

 

eA ey 1 eee

4 Inreply to NYPD 28th Precinct

K Grace Price @GracieeGargeous 14 Oct 2014

=) @NYPO26Pct @NYCagainsiabuse 6s ‘a PUBLIC OFFICIAL your job is to listen
to the peaple in your pet insp OBE. Blocking #DV survivors = shallow

 

«e en 1 eco

4 inreply to NYPD 28th Precinct
K Grace Price @GracieeGorgeous - 44 Oct 2014

@NYPD28Pct @NYCagainstabuse @ManhattanDA @CommissBraiton
@SFFNY great choice to lead the corrupt & dirty 28th pet! Insp. Obe fits right in!

 

1 ove

= K Grace Price @GracieeGargeous 5 Feb 2016
% @nypd2spal note how even #harriettubman turns on her heels & RUNS from

= pet! Shouldn't she be headed North?

dg fen Aoracieegorgzeous%o20t0%3 Anypd28pcté& src=typd 1/3/2017
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C cy RS ase pocungent 41 6 Filed 01/03/17 Page 23 of 32

from:gracieegorgeous to:nyp

SF Home =F Moments

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Page 2 of 3

 

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K Grace Price @GracieeGorgeous - 29 Jun 2015
@nypd28pct WHAT DO THOSE WHO ALLEGEDLY TRAFFICKED A 13 yo
Orthodox girl from BKLYN & my batterer SHARE? goo.gl/L2bqdd #MONELL

a 7 ooo

K Grace Price @GracieeGorgeous - 5 Jun 2015
@NYPD28pct Women of @newyorkcity BEWARE U aren't SAFE when U turn 2
#MyNYPD & @ManhattanDA 4 help wi#domesticabuse bit.ly/1MbIXkC

a ey eee

In reply to NYPD 28th Precinct
K Grace Price @GracieeGorgeous - 14 Oct 2014

; @NYPD28Pct @NYCagainstabuse PUBLIC OFFICIALS USING TWITTER

ACCNTS TO SERVE THE PUBLIC SHOULD NOT BLOCK USERS WHO VOICE
VALID COMPLAINTS OBE

a 1 eee

In reply to NYPD 28th Precinct

K Grace Price @GracieeGorgeous - 14 Oct 2014

@NYPD28Pct @sfiny nice selection INSP OBE! Any extra time to respond to the
letter | sent 2 your precinct about #DV?

https://twitter.com/search?q=from%3 A gracieegorgeous%20to%3 Anypd28pct&sre=ty pd 1/3/2017
from:gracieegorgeous to:nypd28pct - Twitter Search

5 Moments

W Home

 

4 a1

4 Inreply to NYPD 28t

 

h Precinct

K Grace Price @GracieeGorgeous - 44 Oct 2014
mB @NYPD26Pect @sfiny ATTN Insp OBE: link 4 #DomesticViolence prevention
leads to a JEWELRY MALL. Your selection is nice ow.lyiCdi1G

+e an 1 soe

ee carch2a=from™o3 A graciee gorgeous

wv

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Cenrer for Battered Women's Legal Services
30 Wall Street, 8th floor

New York, NY 10005

Tel. 212.349.6009 Fax 212.566.0344

www. sanctuaryforfamiltes.org

Fag Sanctuary
for Families

  

May 3, 2016

Public Allies
50 Broadway, Suite 2400
New York, New York 10004

Dear Public Allies:

L am the Director of Sanctuary for Families Center for Battered Women’s Legal Services (“Sanctuary’s
Legal Center”). With 45 attomeys and more than 500 pro bono altorney partners, Sanctuary’s Legal
Center is the largest legal services program dedicated to the needs of survivors of gender violence in the
country. I write In enthusiustic support of Kelly Grace Price’s application to become a Public Ally. A
survivor of both damestic violence and sex trafficking, and of our justice system's failure to protect
survivors of these abuses, Kelly Grace Price, whom J know as Grace, has transcended unspeakabie
violence to become a fiercely powerful and highly effective advocate for some of the most marginalized
and vulnerable women and girls in our city.

1 first met Grace after'a New York City Bar Association panel in the summer of 2015 addressing Sex
trafficking in New York City. After the discussion, which featured the Manhattan District Attorney,
Cyrus Vance Jr., the Chief of Counter-terrorism for the New York City Police Department, John Miller,
and-formercChiefJudge-forthe New: ¥ ark State Courts, the Honorabic Jonathan Lippmann, Grace
hovered outside the auditorium as the attendees, mostly professionals who wark jn trauma, trafficking,
sexual assault and battered women’s services, filed down the stairs, Clad in black and sad-eyed, Grace
politely posed a provocative but accurate question to us, "How come all three speakers were Pale Males
She offered politely to our group with sad eyes. Who are you?” | asked out her, as her comment
reflected my own thoughts. “T'm Grace,” she replied, “And I don’t think Cy Vance would know 4
trafficking survivor ifbe ran one over with his police escort.” Thus began my interaction with one of the
most gifted and committed activists with whom | have had the privilege of assisting and collaborating.

ps

As mentioned above, Grace has been subjected to domestic violence and trafficking in a pattern that we
encounter frequently among clients al Sanctuary’s Lega! Center: an abusive predatory boyfriend becomes
a trafficker. When Grace was finally able to seek protection from the justice system, however, rather than
obtaining the protection she desperately needed she was revictimized by the very system that was
suppased to protect her. Not only was she arrested and prosecuted under a section of the penal code that
was subsequently struck down as unconstitutional, she was jailed for more than fifteen days on Rikers
Island—a searing experience that exponentially increased ber traunia. | have seen many cases over the
yeurs in which survivors have been revictimized by the criminal justice system but few have been as
severe as Grace’s.

Since that time Grace has drawn on reserves of strength and resilience to patiently and meticulously
rebuild her life, preserving to ensure that what happened to her does not happen to others when they tum
to the authorities for help in their darkest, most desperate moments. Since that time she has dedicated her
lif to the voiceless and the hopeless who like her have been refused recognition as victims and survivors
of trauma/abuse. After spending weeks awaiting bail at Rikers and seeing ihe reality of who is confined
there and how they are treated she has dedicated every waking moment to addressing the inhumane
conditions on that island jail complex. It was apparent to Grace that over 75 percent of the women in the
Rose M. Singer Center were survivors of cither domestic violence amd/or trafficking and that the crimes
they were accused of oflen arose out of these horrific circumstances. Instead of moving on with her fife,
she chose'to try to do something about them.

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Donna Bonem Rich
Susan Sokol
Barbara Stimmel
Diana L. Taylor
David T. Washburn
Judy Weill
Catherine L Woodman*
Audrey Y Zucker

> PAST BOARD PRESIDENT
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Back in 2012 Grace began a campaign to remove all women off of Rikers, Jong before this topic was a headline in
our newspapers. She has become a stalwart member of the NYC Jails Action Coalition, where she has steadily
worked towards her goal, organized, built relationships with religious leaders, social justice leaders, and local, state
and federal politicians. indeed she has established herselfasa driving force behind criminal justice reform in the
areas of prosecutorial Immunity, survivors’ rights and secondary victimization, all while recovering and living on
public assistance ina tiny SRO studio apartment in Washington Heights.

Grace’s work to end the crisis of rape and sexual assault in our City jails has picked up momentum in recent

months. The NYC Board of Correction has finally agreed to begin implementing rules to address the Federal Prison
Rape Elimination Act this spring after almost a full year of forceful advacacy from Grace and her

organization, From? our past experience we know that the draft of a rule change to the minimum standards that
comprise the Department of Correctian’s charter takes many months to revise, more lo affirm positively with a vote,
and even more to implement, Grace’s work dedicated to reducing harm in our City jails-and to giving victims like
her, who were written-off as mentally ill, derelict, fabricators, is-a profound reflection of who she is: without having
regained her full rights and without having been restored to the status she enjoyed before her life was turned upside
down, she fights for others who are more helpless and more desperate. What a testament this is to her strength of
character!

Please help Grace to continue her work: in assisting her to restore the yoices of the voiceless victims and survivors
on Rikers, she has found her own again, and what a powerifisl and eloquent voice itis. By enabling Grace to
continue and intensify her forceful and urgently needed advocacy for the most merginalized and vulnerable victims
of gender violence, those who have been revictimized by our justice system, you will be empowering one of New
York City’s most formidable and dedicated public allies.

Sincerely yours,

Jun dulf ——SOSOS~S

Dorchen A. Leidholdi, Esq.

Director

Center for Battered Women’s Legal Services
Sanctuary for Familtes
 

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Price began the careers of many journalists such as David Rochkind: his work on the
drug wars in South America spans a decade of reportage produced together. The Guardian
just did a review of his book co-produced with the Pulitzer Center:

http: //www.guardian.co.uk/artanddesign/photography-blog/2013/jan/25/mexico-drug-war—

photographer—david-rochkind? intcmp=ILCMUSTXT9384

Scout Tufankjian was asked to be one of President Obama's Photographers after her
comprehensive coverage of his 2008 campaign. Price was Scout's editor who stewarded
her work with the campaign: Scout even mentions Price as the reason for her success
when interviewed on the Charlie Rose show: http://www.charlierose.com/view/interview/
10026 and thanks her in the forward and back cover of her best-selling book “Yes we

Can": http://www. scouttufankjian.com/#/yes-we-can-—-the-book.

Kate Brooks was one of the many photographers Price worked with and wrangled into
difficult areas of the world to cover wars throughout the Mideast as well as
children's’ and women's! issues http: //lightbox.time.com/2011/09/19/in-the-light-of-

darkness—a-photographers—journey-after- 911/#12

Photographers such as Max Becherer, Christoph Bangert, Johan Spanner and Mitchell
Prothero needed help getting into Iraq to work. Price not only got them safeiy in and
out of the country dozens of times but initiated them on how to operate while there
and subsequentiy most became full-time staffers at the NYT House in Baghdad: http://

maxecherer.com/#/the-dark-days-iraq/01182013_Becherer_IraqDark001

Price heiped to position exclusive access inside the home of Benizir Bhutto in
Pakistan while she was placed under house arrest by the Pakistani government upon her
return after years in exile a week before her assignation: http://www.time.com/time/

photogailery/0,29307, 1683694 1485358, 00.htmi

Price worked with Stephanie Sinclair on several stories including a never-before-seen
intimate portrayal of the family of polygamist Warren Jeffs for the NYT Magazine
(Winner of National Magazine Award for Best Cover Story, 2009) http://

www.chiidorides.org/raid_NYTimes_children_of_God.html
 

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Price is a 9/1l survivor whose work was published around the world: now that she has
lost credibility she has difficulty distributing her photos taken on 9/11 for which
she made yearly income:
http://digitaljournalist.org/issue0609/watching-the-world-change. html

http: //www.amazon.co.uk/102-Minuten-erz%C3%A4hlte-Geschichte-%C3%9Cberleben/
dp3492250521ref=sr_1_11s=books&ie=UTF8&qid=1363704757&sr=1-11

http://www. nytimes.com/2001/09/23/arts/the-aftermath-peering-into-the-abyss-of-the—
future-html

http://www.time.com/time/magazine/article/0,9171,1053663,00.htmi

http: //www.thetimes.co.uk/tto/news/uk/jubilee/article3353131.ece

Price positioned photojournalist Robert Stolarik in NOLA days before hurricane Katrina
and more than supported his efforts to document the events during and after the storm:
Stolarik won many awards that year and Robert's coverage secured him a staff position

at the NYT: http://www.nypress.org/KATRINA/index.html
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